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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, ET AL.                               CIVIL ACTION

VERSUS                                                   NO. 3:22-CV-00178

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana



                                          ORDER

               Considering the foregoing Motion to Withdraw Counsel of Record,

       IT IS ORDERED, that Charlton J. Meginley is hereby withdrawn as additional counsel of

record for Defendant in this matter.

       Baton Rouge, Louisiana, on this _____ day of ___________, 2024.




                        ________________________________________
                                         JUDGE
                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA




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